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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________

In re:                                                         Case No: 20-43932-jmm

FANCHEST, INC.,                                                Chapter 11

                  Debtor. 1
___________________________________________

    ORDER SCHEDULING HEARING TO CONSIDER CONFIRMATION OF DEBTOR’S
    PLAN OF REORGANIZATION PURSUANT TO SUBCHAPTER V OF CHAPTER 11

          Fanchest, Inc., the debtor and debtor in possession (the “Debtor”) , the debtor and debtor-

in-possession (JMM) in the above-captioned small business case filed under subchapter V of

chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), filed an Amended Plan

of Reorganization for Small Business Under Chapter 11 [ECF No. 79] on February 26, 2021, as

may be amended, modified or supplemented (the “Plan”); and after due deliberation; it is hereby

          ORDERED, that a telephonic hearing to consider confirmation of the Plan shall be held

before the Honorable Jil Mazer-Marino, of the United States Bankruptcy Court for the Eastern

District of New York, 271-C Cadman Plaza East, Brooklyn, NY 11201 on April 9, 2021 at 1:00

p.m. prevailing eastern time (the “Confirmation Hearing”); the dial-in information for the hearing

is as follows: Toll-Free Number: (888) 273-3658; Access Code: 2872314; and it is further

          ORDERED, that service of this Order and the Motion upon (i) the Office of the United

States Trustee, (ii) all creditors listed by the Debtors in their bankruptcy schedules or who filed

proofs of claim with the Clerk of the Court, (iii) all parties who have filed and served upon the

Debtor’s counsel a notice of appearance in this case, and (iv) the subchapter V Trustee appointed

in this case, by first class mail no later than March 5, 2021 March 8, 2021 (JMM), shall constitute



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    (Federal Tax Id. No. xx-xxx 3182).
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good and sufficient service and notice hereof; and it is further

          ORDERED, that the Debtor shall promptly file an affidavit of service thereafter; and it is

further

          ORDERED, that objections, if any, to the Plan shall be in writing and filed with the Clerk

of the United States Bankruptcy Court for the Eastern District of New York, Conrad B. Duberstein

Courthouse, 271-C Cadman Plaza East – Suite 1595, Brooklyn, New York 11201, in accordance

with the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Eastern

District of New York, and served upon the following parties: (i) Offit Kurman, P.A., counsel for

the Debtor, 590 Madison Avenue, Sixth Floor, New York, New York 10022, Attn: Michael T.

Conway; (ii) Eric Michael Huebscher, subchapter V Trustee for Fanchest, Inc., Huebscher & Co.,

630 3rd Avenue – 21st Floor, New York, NY 10017; and (iii) Office of the United States Trustee,

U.S. Department of Justice, Office of the United States Trustee, Region 2 – Brooklyn Division,

201 Varick Street, Suite 1006, New York, New York 10014, Attn: Jeremy Sussman, Trial

Attorney, so as to be received no later than April 2, 2021 April 7, 2021 (JMM) at 5:00 p.m.; and

it is further

          ORDERED, that completed ballots must be submitted in the form annexed hereto as

Exhibit A (the “Ballot”), either by regular mail or e-mail, on:

                                         OFFIT KURMAN, P.A.
                                         Michael T. Conway, Esq.
                                     590 Madison Avenue, Sixth Floor
                                       New York, New York 10022
                                        Telephone: (929) 476-0041
                                        Facsimile: (212) 545-1656
                                    Michael.Conway@OffitKurman.com

so as to be received no later than April 2, 2021 April 7, 2021 (JMM); and it is further
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       ORDERED, that the Debtor shall file a Ballot Tabulation and Certification of Acceptance

and Rejection of the Plan with the Clerk of the Court no later than April 6, 2021 April 8, 2021

(JMM).




                                                            ____________________________
 Dated: Brooklyn, New York                                         Jil Mazer-Marino
        March 5, 2021                                       United States Bankruptcy Judge
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                                           Exhibit A - Ballot

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________

In re:                                                           Case No: 20-43932-jmm

FANCHEST, INC.,                                                  Chapter 11

                  Debtor. 2
___________________________________________
    CLASS [    ] BALLOT FOR ACCEPTING OR REJECTING AMENDED PLAN OF REORGANIZATION
    Fanchest, Inc., the Debtor in this case, filed a plan of reorganization dated February 26, 2021
    (the Plan). If you are a holder of a Claim against the Debtor you must use this ballot to cast your
    vote to accept or to reject the Debtor’s Amended Plan of Reorganization for Small Business
    Under Chapter 11, as may be amended, modified or supplemented (the “Plan”). Before you
    transmit your vote, please review the Plan carefully.

    You may wish to seek legal advice concerning the Plan and your classification and
    treatment under the Plan. This Ballot does not constitute, nor will it be deemed to be a
    proof of claim or an amendment to a proof of claim or interest or an assertion of a claim
    of a waiver of any bar date or deadline to file a proof of claim or interest.

    If your ballot is not received by Michael T. Conway, Esq., Offit Kurman, P.A., Madison
    Avenue, Sixth Floor, New York, New York 10022, on or before April 7, 2021, and such
    deadline is not extended, your vote will not count as either an acceptance or rejection of
    the Plan.

    If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not
    you vote.

    Acceptance or Rejection of the Plan
    The undersigned, is the holder of a Class [ ] claim against the Debtor in the unpaid amount of
    Dollars ($                ).

    Check one box only
       Accepts the plan
       Rejects the plan



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Certification. By returning this Ballot, the holder of the claim identified above certifies that it has
(a) full power and authority to vote to accept or to reject the Plan with respect to said claim; and
(b) received a copy of the Plan (including the exhibits thereto) and understands that the solicitation
of the votes for the Plan is subject to all the terms and conditions set forth in the Plan.

 Dated: ___________________

 Print or type name:   _________________________________________

 Signature: _________________________________ Title (if corporation or partnership) ___________


 Address:              _________________________________________
                       _________________________________________
                       _________________________________________

YOUR BALLOT MUST BE RECEIVED BY COUNSEL FOR THE DEBTOR AT THE
BELOW ADDRESS BY 5:00 P.M. ON APRIL 7, 2021, OR IT MAY NOT BE COUNTED.

OFFIT KURMAN, P.A.
Michael T. Conway, Esq.
590 Madison Avenue, Sixth Floor
New York, New York 10016
Telephone: (929) 476-0041
Michael.Conway@OffitKurman.com

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, OR IF YOU NEED A BALLOT OR ADDITIONAL PRINTED COPES OF
THE PLAN OR OTHER MATERIALS ENCLOSING IN THE SOLICITATION
PACKAGE, PLEASE CONTACT COUNSEL FOR THE DEBTOR AT (929) 476-0041 OR
MICHAEL.CONWAY@OFFITKURMAN.COM.
